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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


                                                  )
        Radha Geismann M.D. P.C.                  )
                                                  )
                                                  )
                v.                                )       4:19-CV-676_HEA
                                                  )
                                                  )
        Pos-T-Vac                                 )
                                                  )

               ALTERNATIVE DISPUTE RESOLUTION COMPLIANCE REPORT

                     Complete one option and file this report with the Clerk’s Office:

                                                  Option 1

❑     The neutral elects to extend the deadline for completing ADR for 14 days and will continue efforts to
      assist   the    parties    in     reaching     a  settlement.   Revised    completion      deadline:
                                                  . Such an election by the neutral is permitted once
during the span of a mediation in a single case. If the parties require more time to complete mediation,
lead counsel must file a motion with the Court.

                                                  Option 2

X      An ADR conference was held on: multiple dates between June 2020 and November 20, 2020.

         All required individuals, parties, counsel of record, corporate representatives, and/or claims
professionals attended and participated in the ADR conference in good faith, and each possessed the
requisite settlement authority;

        The following individuals, parties, counsel of record, corporate representatives, and/or claims
professionals failed to appear and/or participate in good faith as ordered: N/A
                                                                                                          .

        The ADR referral was concluded on November 20, 2020. The parties did achieve a
settlement.

                                                  Option 3

❑       Although this case was referred to ADR, a conference WAS NOT HELD.




             Date 11/23/2020        Neutral /s/   Michael J. Reagan
